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May 14, 2015 mvw.ci)ylm\icnm

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Ms. Laura I-Iinojosa

District Clerl< of Hidalgo County
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Edinburg, Texas 78539

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Ms. Louisa Pearson

Court Cool°dinator, 389‘h District Coult
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Edinbui'g, Texas 78539

Re: Cause No. C-514§~14-H; Pharr San Jurm Alamo ISD v. Texas Descon, L.P., Descon
4S, LLC, ERO lmer,'m!ional, LLP c!/b/a ERO Archi`fects, and VCI Buil:fe:'..'r, Inc.; In
the 389th J udicial Distl'ict Court of Hidalgo County, Texas

Dear Ms. Hinojosa and Ms. Peal'son:

Our firm, Col<inos Bosien & Young, is no longer involved in this case. Please remove Brian
D. Metcalf and Stephanie O’Roln‘l<e from your service list for future notices and orders from the

Coult.

By copy of this letter, l am making the same request of counsel and Ms. Luisa Pearson, the
Court Coordinator.

Thanl< you for your courtesies.
Youl's truly,
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Brian D. Metcalf

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Houston 713-535.5500 ~ Dallas-Ft.Worth 817.655-3600

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Ms. Laura Hinojosa
MS. Louisa Pearson
May 14, 2015

Page 2

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NO. C-5149-14-H

 

PHARR SAN JUAN ALAMO § IN THE DISTRICT COURT
INDEPENDENT SCHOOL DISTRICT §
Plaintiff, §

§
V. § 389TH JUDICIAL DISTRICT

§
TEXAS DESCON, L.P., DESCON 4S, §
LLC, ERO INTERNATIONAL, LLP, §
D/B/A ERO ARCHITECTS, and VCI §
BUILDERS, INC. §
Defendants. § OF HIDALGO COUNTY, TEXAS

ORDER SUSTAINING
DEFENDANT'S SPECIAL EXCEPTION TO
I’LAINTIFI@"S PETI'I`ION
On , the Cou1't considered the Defendant's Special

 

Exception to Plaintiff‘s Petition and the arguments of counsel After due consideration, the

Court orders the following:

Defendant's objection that Plaintiffs allegations are too general is sustained and Plaintil`f

is ordered to replead.

SIGNED on , 2015.

 

JUDGE PRESIDTNG

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PHARR sAN JUAN ALAMO IN THE DISTRICT coURT
INDEPENDENT ScHOoL DISTRICT
Plaintiff,

TEXAS DEscoN, L.P., DEscoN 4s,

LLC, ERo INTERNATIONAL, LLP,

I)/B/A ERo ARCHlTECTs, and vel

BUILDERS, INC. §

Defenaants. § 011 HIDALGO coUNTY, TEXAS

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§
V. § 389THJU1)1C1AL DISTRICT
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ORDER SETTING HEARING
The above and foregoing Defendant's Special Exceptions and Motion To Dismiss, having

been presented and duly considered, the court is of the opinion that a hearing on same is

 

necessary
. . . June 3, 2015
IT IS THEREFORE ORDERED that said healing is set on
ar 9:00 a'm' , 111 the 389TH indicia msu-101 com 01 HIDALGO coum~.y,
Texas.

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CAUSE NO. C-5149»14-H

PHARR SAN JUAN ALAMO IN THE DISTRICT COURT

INDEPENDENT SCHOOL DISTRICT
Plaintiff,

V. 389TH JUDICIAL DISTRICT
TEXAS DESCON, L.P., DESCON 4S,
LLC, ERO INTERNATIONAL, LLP,

D/B/A ERO ARCHITECTS, and VCI

§
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BUILDERS, INC. §

§
Defendants. § OF HIDALGO COUNTY, TEXAS

'I.`HI.RD I’ARTY DEFENI)ANT'S ORIGINAL ANSWER, SPECIAL EXCEPTIONS. AND
MO'I`ION 'I`O DISMISS HASELESS CAUSE OF ACTION

NOW COMES Third Party Defendant, VCI BUILDERS, INC, named Defendant in the
above-entitled and numbered cause, and files this Original Answer, Special Exceptions, and
Motion to Dismiss Baseless Cause of Action, and shows the Court:

SPECIAL EXCEPTION

l. Defendant submits the following exception to Plaintiffs Petition:

a. Plaintiff, Pharr San Juan Alamo Independent School District (PSJA), filed

suit against Defendants, Texas Descon, L.P., Descon 4S, L.L.C., and ERO lntemational, 1

L.L.P., d/b/a ERO Architects, alleging Defendants’ caused damage to the project during

the demolition phase and improperly installed tlooring. Defendants’, Texas Descon,

L.P. and Descon 4S, L.L.P., filed their Third Party Petition against VCI BUIILDERS,

INC, (VCI) alleging that the damages alleged by PSJA, if any, Wei‘e proximately caused

by VCI. Third Party Plaintiffs do not identify any actions and/or omissions of Third

Party Defendant VCI Which caused and/or contributed to the damages alleged. Third

Party Plaintiffs’ allegations are so general that Defendant does not have fair notice of the

 

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claim.

GENERAL DENIAL

2. Defendant denies each and every allegation of Third Party Plaintiff‘s Original

Petition, and demands strict proof thereof as required by the Texas Rules of Civil Procedure.
MOTION TO DISMISS BASELESS CAUSE OF ACTION

3. Third Party Plaintiffs’ cause of action has no basis in fact. Plaintiff, PSJA, filed
suit against Texas Descon, L.P., and Descon 4S L.L.C., in part, because portions of the main
school building not designated for demolition, collapsed. See Exhibit A. Third Party
Plaintiffs’, Texas Descon, L.P., and Descon 4S, L.L.C., allege that any damage caused during
demolition at the Project site Was caused by Chacho’s Recycling and/or VCI Builders, Inc. See
Exhibit B, p. 3, ‘\l 7-8.

4. These allegations provide no basis in fact for this cause of action because VCI
Was contracted to provide demolition services at the project site subsequent to the collapse of the
building. See Exhibit “C”. Specifrcally, VCI Was hired to perform select demolition of the
existing building that has collapsed...Remove all collapsed concrete roof and floor slab... See
Exhibit “C”. Accordingly, these allegations provide no basis in fact for this cause of action
because no reasonable person could believe that VCI could be responsible for the collapse of a
building that occurred prior to their involvement with the proj ect.

5. Attorney’s Fees and Costs. As a result of Third Party Defendants’ allegation of
a baseless cause of action, Third Party Defendant, VCI Builders, Inc., is entitled to recover all
costs and reasonable and necessary attorney fees under Texas Civil Procedure Rule 91a.7. VCI

has incurred and Will continue to incur reasonable and necessary attorney’s fees in defense of

 

 

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this matter.
PRAYER
Defendant prays the Court, Will sustain the exception to the Third Party Petition and
order Third Party Plaintiffs’ to replead and after notice and hearing or trial, enters judgment in
favor of Defendant, awards Defendant the costs of court, attorney's fees, and such other and

further relief as Defendant may be entitled to in law or in equity.

Respectfully submitted

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Tel. (956) 287-9191
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Attorney for Defendant
VCI BUILDERS, INC

By:

 

 

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CERTIFICATE OF SERV[CE

I certify that on May 11, 2015, a true and correct copy of 'I"hircjl Party Defendant's
Answer, Special Exceptions, and M.otion to Dismiss Baseless Cause..o-f_'ll\e`tion via e-flling and
facsimile to each person listed below: ""/ ` '

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David l/ `HJ/res "`“-;_~.<k ff

 

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Via Email: robert schellr_'¢r.'_llwlmail.com ._f--r""'

 

Via Facsimilc: (956] 502-5(}0'7

Jesus Rarnirez

The J. Ramirez Law Firm

700 Veterans Blvd., Suite B

San Juan, Texas 78589

Attorney for PHARR SAN IUAN ALAMO INDEPENDENT SCHOOL DISTRICT

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Via Email: s\'icker\'r?itl)cnla\\'su.rum
Via Facsimile: (210) 881-0668

David P. Benjamin

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2161 NW Military H.ighway, Suite 111
San Antonio, Texas 78213

Via Elnail: s\\'ln_ti"r`.-.aapla\\'.colu
Via Faesimile: (512] '?08-0519
Sara Whittington May

Allensworth & Porter, LLP

100 N. Congress Avenue, Suite 100
Austin, Texas 78701

Via Email: scrl\\“ardsm`>horigins-|:\\\'.cmn

Via Facsimile: (7]3] 623-2793

SPENCER EDWARDS

24 Greenway Plaza, Suite 2000

Houston, Texas 77046

Attorney for DESCON 4S, LLLC and TEXAS DESCON, L.P.

 

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THE STATE OF TEXAS §
§ VERIFICATION
COUNTY OF HIDALGO §

BEFORE ME, the undersigned authority, personally appeared JOSE L.
ARREDONDOJR., President, VCI Building, Inc. Who stated, upon his oath, that the
statements contained in the foregoing: THIRD PARTY DEFENDANT'S ORIGINAL
ANSWER, SPECIAL EXCEPTIONS, AND MOTION TO DISMISS BASELESS
CAUSE OF ACTION are Within his personal knowledge and are true and correct.

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56'§1; L. Ani{Ej)oNDo, JR.
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SUBSCRIBED AND SWORN TO BEFORE ME on this the _\_§____ day of

May 2015.
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August 23, 2015 l

 

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EXhibit “A”

 

 

 

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PHARR sAN IUAN ALAMo § IN THE DISTRICT coURT
INDEPENDENT sCHooL DISTRICT §
Plaintijj‘ §
§
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vs. §
§ HtDALGo COUNTY, TEXAS
TEXAS DESCON, L.P., DEsCoN 4s, §
L.L.C. and ERO rNTERNATIoNAL, §
L.L.P. d/b/a ERo ARCHITECTS §
Defendams § JUDICIAL DISTRICT

PLAINTIFF’S ORIGINAL PETITION

Now coMEs, Ph`tm san man A1amo mdependent sami District, Pnimiff
herein, complaining of Texas Descon, L.P., Descon 4S, L.L.C., and ERO International,

L.L.P., d/b/a ERO Architects, and would show the Court as follows:

I.
Plaintiff intends to conduct discovery under Level 2 pursuant to Texas Rules of
Civil Procedure 190.2.
II.
Jurisdiction and Venue
Venue is proper in Hidalgo County, Texas, as a11 or a substantia] part of the acts
or omissions giving rise to this cause of action occurred there. Tex. Civ. Prac. & Rem.

Code, Section 15.002(a)(1).

III.
Parties

 

 

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Plaintiff is Pharr San Juan Alamo lndependent School District, a public
independent school district and a political subdivision, duly formed and existing under

the laws of the State of Texas, based in Hidalgo County, Texas.

Defendant is Texas Descon, L.P., a business entity with its principal office located
in McAllen, Hidalgo County, Texas. lt may be served through its registered agent for
process, Michael D. Smith, at 5801 N. 10th Street, Suite 500,McA11en, Texas 78504.

Defendant is Descon 4S, L.L.C., a business entity with its principal office located
in McAllen, Hidalgo County, Tcxas. lt may be served through its registered agent for
process, Michael D. Smith, at 5801N. 10th Street, Suite 500, McAllen, Texas 78504.

Defendant is ERO International, L.L.P. d/b/a ERO Architects, a business entity
with its principal office located in McAllen, Texas, lt may be served through any adult
person authorized to accept service on behalf of ERO hiternational, L.L.P. at 300 South
8"‘ Street, McAllen, Texas 78501.

IV.
Facts

On or about February, 2008, the governing board of Pharr San Juan Alamo
Independent School District (hereinafccr, “Plaintift” or “the District”) authorized a
preliminary investigation and assessment into the feasibility of upgrading and/or
renovating existing structures at the District’s Mernorial Middle School campus in Pharr,
Texas. One of the buildings considered for renovations and/or upgrades was a three-

story main building, constructed in 1915 or 1918 with subsequent remodeling and/or

 

 

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additions in 1976 and 1986. Other buildings considered for renovation included a
building used for textbook storage and a building used as a band hall, both originally

constructed sometime in the 1940’8.

On or, about February 22, 2008, a Houston~based firm of consulting engineers,
Terracon, published its report of an on-site property condition assessment and inspection
of the buildings considered for renovations/upgrades Terracon’s assessment was based
upon visual inspection of the property, some construction drawings relating to alteration
and remodeling projects, as well as interviews with the District’s construction manager,
Mr. Ray Sanchez and Mr. Eli Ochoa, P.E., A.I.A., an engineer working for Defendant
ERO International, L.L.P., an architectural firm (hereinafter, “Defendant” or “ERO”).
The Terracon report concluded that the buildings were in “fair to poor condition” and
recommended that a detailed investigation of the foundation and structural framing be
conducted by a qualified structural engineer to ascertain the viability of future
renovations of the buildings The Terracon report further noted that during inspection

they discovered water pending in the basement floor.

On or about March 3, 2008, Defendant ERO completed its own inspection of the
existing structures at Memorial Middle Sohool. ERO’s report of its inspection noted
various problems with the existing structures and the site, including large amounts of
standing water and needed repairs or upgrades to the roofing system and exterior walls.
The report ultimately recommended that the District should replace the campus rather
than proceed with renovations and upgrades, and cautioned that major transformations,
such as an evisceration of` interior components for structural repairs to the foundation,

sub-flooring and walls would be necessary if the District proceeded with renovations

 

 

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Nevertheless, on the basis of subsequent representations from Defendant ERO
that it would be safe, feasible and economically practicable to proceed, the governing
board of the District authorized the renovation/upgrade project (“the Project”), to be
completed in two .phases. Phase l would be the upgrade/renovation and adaptive reuse of
the three story main building (“Main Building”) and Phase II would be the

upgrade/renovation and adaptive reuse of the band hall and textbook storage building.

Defendant Texas Descon, L,P. through its general partner Descon 4S, L.L.C.
(collectively, the “Descon Defendants”) executed a contract as the General Contractor on
the Project on or about May 4, 2010. Defendant ERO executed a contract as the

Architect on the Project, on or about May 26, 2010.

Phase l of the Project entailed demolition of certain outer columns and support
structures in order to construct improvements to the Main Building. Specifically, these
improvements would be structures that linked newer building wings to the Main
Building. During the course of the demolition of the outer support structures, portions of
the main school building not designated for demolition, including large parts of the west
Wall and second story floor, collapsed.

Regarding Phase II of the Proj ect, it was discovered in the course of construction
of additions and renovations to the textbook storage building and band hall that the walls
and support systems would have to be entirely demolished and rebuilt for stability
purposes, essentially requiring that the buildings be re-constructed from the foundation

_ up.
Post-delivery of the Phase l Project to Plaintiff, the basement floor exhibited

infiltration of water requiring changes to the initial specifications and a major overhaul to

 

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the flooring

V.

Breach of Contract

Plaintiff realleges and incorporates each material allegation contained in
Paragraphs l through IV of this Petition as if fully set forth herein. Defendants breached
their respective construction project contracts With Plaintiff by failing to perform the
work as contemplated, or performing the Work in a sub-standard manner that caused
damage to Plaintiff’s property. The respective contracts were supported by
consideration, were never repudiated by any party to them, and all conditions precedent
to their enforcement have occurred. Plaintiff incurred damages from the respective
breaches of contract by having to incur expenses to repair, redesign, and replace the

damaged buildings For these damages, Plaintiff seeks redress from this Court.

VI.
Negligence
Plaintiff realleges and incorporates each material allegation contained in
Paragraphs I through V of this Petition as if fully set forth herein. The Descon
Defendants were negligent in the following ways: planning and/or execution of the
demolition portion of Phase l of the Project, resultingin the toppling of large portions of
the west wall and second story floor and damaging the east wall and failing to follow the
specifications and product installation conditions for the basement floor, This negligence

on the part of` the Descon Defendants included, but was not limited to, failure to

 

 

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adequately inspect and test the structures and site beforehand and failure to use
appropriate demolition means and methodsl

Defendant ERO was negligent in one or more of the following ways: failing to
undertake a more thorough investigation and determination of the structural integrity and
conditions of the facilities; failure to advise Plaintiff during the design phases of Project
of ERO’s lack of sufficient information to design and specify the Project; and advising
Plaintiff to proceed With bidding the Projects in spite of insufficient plans and
Speciiications. Negligence on the part of Defendant ERO also included, but was not
limited to, failure to adequately inspect and test the structures, failure to require and
review a submittal for proper demolition means and methods, and failure to design
improvements/additions to the existing structures which would have been appropriate and
feasible.

ERO’s negligence in its advice to Plaintiff and its negligent design, combined
with Descon’s negligence, resulted in the toppling of large portions of the west wall and
second story floor of the main classroom building, the moisture infiltration to the '
basement floor and the additional cost of completion of the textbook storage facility and
band hall.

Defendants collectively owed a duty of care to plan and perform the demolition in
a manner that would not result in the destruction of the District’s property that was not
scheduled for demolition, and to recommend and design additions and renovations that
were appropriate for existing structures at the Memorial Middle School campus

Defendants breached this duty, proximately causing damages to Plaintiff.

 

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Plaintiff has suffered injury in that costs to clean up, redesign, and rebuild the
structures were incurred For these damages, Plaintiff seeks redress from this Court.
The Certifrcate of Merit of Bradford Russell, AIA, Architect, detailing the specific acts of

negligence of Defendant ERO, is attached herein as Exhibit “A,” and incorporated for all

purposes.

VII.
Negligent Misrepresentation

Plaintiff realleges and incorporates each material allegation contained in
Paragraphs I through VI of this Petition as if fully set forth herein. Plaintiff brings this
action for common law misrepresentation against Defendant ERO. Defendant ERO
provided false information to Plaintiff in the course of Defendant’s business. ERO failed
to exercise reasonable care or competence in obtaining and communicating, and Plaintiff
justifiably relied on, the information, with damages to Plaintiff proximately resulting
from said reliancel Speciflcally, Defendant ERO represented to Plaintiff that the
improvements in the form of renovations and additions that ERO recommended and
designed Would be appropriate for the existing structures at the Memorial Middle Sch_ool
campus, and could be feasiny completed as planned without foreseeable damage to
existing structures, and without necessitating demolition and rebuilding of portions of
structures not designated for demolition/rebuilding

Plaintiff justifiably relied upon the representations of ERO in making its decision
to approve the improvements, based upon ERO’s professional credentials, and thereby

suffered damages when it was discovered that the improvements recommended and

 

 

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designed by Defendant ERO were not appropriate for the existing structures and could
not be completed without excess destruction and rebuilding far beyond what was

originally contemplated

VIII.
Gross Negligence

Plaintiff further alleges that the acts and omissions of Defendant ERO constituted
gross negligence, in that these acts or omissions, when viewed objectively from ERO’s
standpoint at the time of the occurrence, involved an extreme degree of risk considering
the probability and magnitude of potential harm to others, which ERO had actual
subjective awareness of the degree of risk involved, but proceeded with conscious
indifference to the rights, safety, and welfare of others Pleading more specifically,
Defendant ERO recommended and designed improvements in the form of renovations
and additions to existing structures at the District’s Memorial Middle School campus
when it had actual, subjective knowledge that no renovations or additions should be
contemplated because of inherent problems with the structures, yet nevertheless
proceeded to recommend and design these improvements With a conscious disregard of
the possibility of catastrophic accidents causing extreme property damage and/or

potential injury and loss of life.

IX.
' Limitations/Repose

 

 

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C_5149_14_H Reviewed By: Prisci||a Rivas

Plaintiff, being a school district, alleges that none of the causes of action pled herein

are barred by limitations by operation of Tex. Civ. Prac. & Rem. Code, § 16.()61.

Further, Plaintiff alleges that the Statute of Repose found in Tex. Civ. Prac. & Rem.
Code § 16.008 does not bar its claim against Defendant ERO, who designed or planned
the improvements on the Project, as Plaintiff has filed suit within ten years of the

beginning of the operation of thc equipment at the Project site,

Further, Plaintiff alleges that the Statute of Repose found in Tex. Civ. Prac. & Rem.
Code § l6.009 does not bar its claim against the Descon Defendants, who constructed or
repaired improvements in the course of the Project, as Plaintiff filed suit within ten years
of the substantial completion of the improvements (i.e., renovations and additions to the

buildings in question).

X.
Resulting Legal Damages

Plaintiff is entitled to' the actual damages proximately resulting from the
Defendants’ actions and omissions Plaintiff has sustained damages in excess of the
minimal jurisdictional limits of this Court resulting from the Defendant’s acts and/or
omissions Plaintiff is also entitled to recover exemplary damages pursuant to Chapter
41 of the Tean Civil Practice & Remedies Code for the actions of Defendant ERO which

constitute gross negligence '

XI.
Jury Demand

Plaintiff demands a trial by jury and tenders the appropriate fee with this Petition.

 

 

 

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XII.
Prayer

WHEREFORE, Plaintiff requests that the Defendants be cited to appear and

answer, and that on final hearing, Plaintiff recover from Defendants, jointly and

severally:

l.

Damages against Defendant in an amount exceeding the minimum
jurisdictional limits of this Court, plus accrued interest from the date on which

the claim accrued to the date ofjudgment;

Exemplary damages;

. Attomey’s fees in a reasonable sum as the Court may award;

Costs of suit, and pre and post judgment interest;

In the event of an appeal to the court of appeals, additional reasonable
attomey's fee; in the event of granting of writ to the Supreme Court, additional
reasonable attomey's fees.

Such other and further relief to which Plaintiff may be justly entitled at law or
in equity.

Respectfully Submitted,

THE J. RAMIREZ LAW FIRM
Attorneys at Law

Ebony Park, Suite B

700 North Veterans Boulevard
San Juan, Texas 78589

(956) 502-5424

(956) 502-5007

JESU ` [REZ

 

 

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SBN 16501950

Email: ramirezbook@gmail.com
Attorney for Plaintiff

ROBERT SCl-IELL

SBN 24007992

Email: robert_schell@honnaii.com
ATTORNEYS FOR PHARR

SAN JUAN ALAMO I.S.D.

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Exhibit “B”

 

 

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Reviewed By: Prisci||a Rivas

CAUSE NO. C-5149-l4~l-I

PHARR SAN JUAN ALAMO lN THE DISTRICT COURT

lNDEPENDENT SCHOOL DISTRICT
Plc/im‘fjf

vs. 389T" JUDICIAL DISTRICT

TEXAS DESCON, L.P., DESCON 4S,
L.L.C. and ERO INTERNATIONAL, L.L.P.
D/BA ERO ARCHlTECTS

P[afnr('/j‘ HIDAI_,GO COUNTY, TEXAS

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DEFENI)ANTS‘ TI-IIRD-i"A.RTY PETITION
COME NOW Defendants, Texas Descon, L.P. and Descon 4S, L.L.C. (“Defendants"), in
the above-styled and numbered cause, and files this Third-Party Petition in accordance with
Texas Rule ofCivi| Procedut'e 38 and would respectfully show unto the Court the following:

i. Defendants tile this Third-Party Petition against the following Third-Party

Defendants:
a. McAllen Carpet & Interiors, L.P., is a limited partnership which may be served
with process through its registered agent, GJ Reyna, at 1200 E. Jasmin Avenue,
McAllen, Texas 78501, or anywhere else he may be found.
b. Chacho’s Recycling is an unincorporated business association located in Hidalgo

County, Texas. Defendant Chacho’s Recycling is being sued in its common or
assumed name pursuant to TEX. R. ClV. P. 28. Defendant Chacho’s Recycling can
be served with process through its owner/authorized representative, Josh
Hammer, at Route 3l, Box 133 H-2, Pharr, Texas 78577, or anywhere else he

may be found.

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Reviewed By: Pr|sc|||a Rivas

c. VCl Builders, lnc. is a Texas corporation which may be served with process
through its registered agent, lose Luis Arredondo, at 217 W. Nolana, Suite 24,
lvchllen, Texas 78504, or anywhere else he may be found.

2. Venue is proper in Hidalgo County, Tean pursuant to Sections 15,002 and

15.062 of the Texas Civil Practice and Remedies Code.

3. Although Defendants are unaware of what damages it will incur, if any.
However, for purposes of pleading under Rule 47 of the Texas Rules of Civil Procedure,
Defendants seeks monetary relief over $200,000 but not more than $1,000,000. Damages sought
are within thejurisdictional limits ofthe Court.

4. Plaintiff, Pharr San Juan Alamo lndependent School District (“PSJA”), filed suit
against Defendants alleging breach of contract, negligence, negligent misrepresentation, and
gross negligence against Defendants in connection with Defendants' work on PSJA’s l\/lemorial

l\/liddle School campus (the “Project”). PSJA alleges that Defendants' caused damage during the

 

 

______..-_._.._-. __ __,¢

demolition phase and improperly installed tlooring.
____________.

 

5. Defendants connected with l\/chllen Carpet & lnteriors, L.P. to provide flooring
of the existing structures at the Project slte.

6, Defendants deny and continue to deny PSJA’s allegations related to the tlooring.
However, in the unlikely event Defendants are found held liable for and of PSJA’s alleged
damages, Defendants contend that such damages were proximately caused by McAllen Carpet &
Interiors, L.P.

7. Fut‘ther, Defendants contracted with Chacho’s Recycllng and VCI Builders, lnc.

to provide demolition of the existing structures at the Project site,

\__,_n

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H|da|go County District C|erks
Reviewed By: Prisci||a R|vas

8, Defendants deny and continue to deny PSJA’s allegations related to the
demolition, However, in the unlikely event Defendants are found held liable for and of PSJA’s
alleged damages, Defendants contend that such damages were proximately caused by

9. Defendants incorporates by reference each of the factual allegations recited in the
preceding paragraphs There are valid, enforceable contracts between Defendants and the Third
Party Defendants. ln the unlikely event that Defendants are found to be liable to PSJA,
Defendants assert that Third Party Defendants materially breached the contracts with Defendants
by their acts and omissions, resulting in damages

iO. In the unlikely event that Defendants are found to be liable to PSJA, Defendants
assert that the Third Party Defendants are liable to it for contribution for any damages owed or
paid by Defendants to PSJA, Specifically, Defendants assert that it has not caused damages to
PSJA, but if judgment is rendered that any damages were proximately caused by Defendants,
then Defendants asserts that such damages were caused by the acts and omissions of the Third
Party Defendants. Therefore, Defendants request that any damages awarded against it be
reimbursed by the Third Party Defendants in this action in accordance with Chapter 33 of the
Texas Civil Practice and Remedies Code.

li. Pursuant to Ruie 194 of the Texas Rules of Civil Procedure, Defendants request
that Third Party Defendants disclose, within 50 days of service of this request, the information
and material described in Rule l94.2(a)-(l).

WHEREFORE, PREMISES CONSIDERED, Defendants Texas Descon, L.P. and
Descon 4S, L.L.C. requestjudgment and relief from the Third Party Defendants, McA|len Carpet
& Interiors, L.P., Chacho’s Recycling and VCI Builders, lnc. for the above causes of action and

for such other relief to which Defendants may be justly entitled in law and in equity.

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Hidalgo County District C|erks
Reviewed By: Prisci|la Rivas

Respectfuily submitted,

THE HUDGle LAw FIRM
A PRoFEssloNAL CORPoRATloN

By: /s/ Spencer Edwards
Spencer Edwards
State Bar Number 90001513
sedwards@hudgins-|aw.cnm
24 Greenway Plaza, Suite 2000
Houston, Texas 77046
Telephone (713) 623-2550
Facsimile (713) 623-2793

ATToRNEv FoR DEFENDANTS TEXAS
DESCON, LP AND DESCON, 4S, L.L.C.

CERTIFICATE OF SERVICE

1 certify that the foregoing Defendants' Third Party Petition was served on the following
counseh

Jesus Ramirez

Attorney at Law

700 Veterans Bivd., Suite B
San Juan, Texas 78589

David P. Benjamin

Benjamin, Vana, Martinez & Biggs, LLP
2|61NW Mi|ilary i-iighway, Suite 111
San Antonio, Tean 78213

Sara Whittington May

Allensworth & Porter, LLP

100 N, Congress Avenue, Suite 100
Austin, Texas 78701

via e-filing on the 30th of March, 2015 and via facsimile on the 3lst day of March 2015.

/s/ Snencer Edwards
Spencer Edwards

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Exhibit “C”

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THE A|\/lEFi|CAN |NSTlTUTE OF ARCH|TECTS

 

 

AiA DocumentA401

SUBCONTRACT
Standard Form of Agreement Between
Contractor and Subcontractor
1978 ED|T|ON

Use with the latest edition of the appropriate A|A Documents as foilows:

A101, Owner-Contractor Agreement'-St|pu|ateci Surn

A107. Abbreviated Owner»Contractor Agreement with Generai Conditions
A111, Owner-Contractor Agraement - Cost pius Feo

A201, Gunerai Conciitions of the Contract ior Construc:tion.

THiS LJOCUMENT HAS iMPOHTANT' LEGAL CONSEOUENCES,' CONSULTA TiON WH"H
AN ATTOHNEY iS ENCOUF?AGED WiTH HESPEGT TO iTS COMPI`,ET`!ON OH MODFFJ'CA Ti`ON

Thls document has been approved and endorsed by the Arnariuan Subcontractors Assoclation
and the Assectated Specia|ty Coniraelors. lnc.

AGREEN|ENT NO. 10-026-02050
made as of the TWENTlETH day of JANUARV in the year Two THousAND ELEvEN

 

BETWEEN the oomractor; TEXAS DESCON, L.P.
P.O. Box 3547
i\/|cAi|en, Texas 78502
and the Subcontractor: VC| Builders
P.O. Box 4637
l\/|ission, TX 78573
The Project: PSJA T-Stem Eariy Co|iege H|gh School Additions and Henovations
Pharr, Texas

The Owner: Pharr, San Juan, A|amo independent School District
P.O. Box 1150
Pharr, TX 78577
The Architect: ERO, |nternationai, L.L.P.
300 South 8th Street
lVicA||en, TX 78501

The Contractor and Subt:ontractor agree as set forth beiow.
opyrig 119| , 1925, 37. |96 , BSE!, 951, i , |BEB, 19?2, iQ'i'B y the Amarir:an institute olnmhitecis, 1935 New Yr,-rit Avenue, N.W. .Waahingion. D.C.

20006. Reproduct|on of the material herein or substantial quotation of its provisions without permission oi the A|A violates the copyright laws ot the United Stalos
and will be subject to legal prosecution

 

 

 

AlA DocuMENT A401 - CoNTaAoToR-suacoNTFiAcToR AGREEMENT - ELEvENTH Eo\TioN - APR\L 1978 A\A
1978 - THE AMERlCAN leTlTuTE oF ARCH|TECTS. 1735 NEW YoRK AvE..., N.W., WASH|NGTON. D.o. 20006 A401-1978 1

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elm>_lsl
THE CONTRACT DOCUMENTS

1.1 The Contract Documents for this Subcontract consist of this i\greement end any Exhibits attached hereto. the Agreement
between the Owner and Contractor dated as of 5/4/2010, the Conditions ot the Contract between the O_wner and
Contractor (Generall Supplementary end other Conditions). the Drawinge. the Specitications. eli Addenda issued prior to
and all Modiflcatione issued after execution ot the Agreement between the Owner and Contrector and agreed upon by
the parties to this Subcontract. These form the Sub-contract, and are as fully a pari ot the Subcontrect es if attached to
this Agreement or repeated hereln.

1.2 Copies of the above documents which are applicable to the Work under this Subcontract shall be furnished to the
Subcontractor upon his request. An enumeration of the applicable Contract Documents appears in Article 15.

A ricLE_z_
THE weak

2.1 The Subcontrector shall perform ali the Work required by the Contract Documents lor
(Hcre insert a precise description of the Worir covered by this Subr:ontreci and refer to numbers ct Drau»ings and pages of Specilications including
Addands. Mcdiiications and accepted Aiie metes.}

Fum|sh ali |abor. materialsh equipment end insurance as required for the complete installation ol, lnc|ud|ng, but not limited to:

Di\iiSiOi\i 0 ~ introductory |ni'ormation, Bidding Reqt.l|rementsr and Contraci Fiequirements; D|viston 1 - GENEF\AL
FiEC'tU|FlEMENTS; and Di\iiSiON 2 - SiTE CONSTHUCT|ON, Sectlon 024100 ~ Derno|itionl to include select demolition ol the
existing building that has collepseci, by removing existing brick walls in the north and south side of East side cline Nieln
Bui|cting in the last column section: Flemove eli collapsed concrete root end floor stein of the main building; and including
sawcutting excess 2nct floor and root floors concrete flush with existing concrete beams All debris shall be set aside on the
north south side ot the bulldings; as psr the pierre end specifications entitled "PSJA T~Stern Ear|y Coliege l-ltgh School
Addltlons and Helicvattons, Pharr, Texas." plans are dated February 24. 2010 end space are dated N|srch 5, 2010, including
Addende 'l thru 4. and the Base Bid and A|ternate No.‘i - Generator and Transfer Switch.

An'rlci_;_;z_
TllillE OF COMMENCEMENT AND SUBSTANTIAL COMPLET|ON
3.1 The Work to be performed under this Subcontrect shall he commenced ns per Schedule and. subject to authorized

adjustmentsl shell be substantially completed not later than as per schedule.
Her‘e insert tile specific provisions that are applicable to this Suircanlract including any information pertaining to notice ic proceed or other method of
modification lcr commencement oi Worir. starting and completion dates. or durelion, and any provisions tot liquidated damages relating itt t'tillt-tt'l‘-l lO

complete on iime,,l
Reqtilred by the Gsnera| Contractor. This Subcontractor is aware that the Generei Ccntrector has a time limit contract

and will coordinate his work in such a way so as not to delay the Genera| Contractor in meeting his time schedules Any
delay directly related to this Subcontrector causing the imposition of liquidated damages upon the General Contrector on
behali ot the Owner will accordingly be imposed upon this Subcontractor.

3.2 Time is ot the essence ot this Subcontract.

3.3 No extension of time will be valid without the Contractor's written consent alter claim made by the Subcontrector in
accordance with Paragraph 11.10.

3.4 See attached EXH|B|T ONE
AFtT|CLE 4
THE CONTRACT SUN'I
4.1 The Gontractor shall pay the Subcontractcr |n current funds fortna performance of the Work. subject to additions and
deductions authorized pursuant to Paregraph ‘l1.9, the Contrect Sum of
TWENTY-SEVEN THOUSAND --------- »~-»»- ------------- -dollars {$27.00[|.00)

The Contract Sum is determined as follows:
(Stste here the base bid or other lump sum nl'i"icunll accepted aliemeles, and unit prices, as applicabie.)

Select Demolition of existing building, including brick veneer. demolition ot collapsed concrete ro< $27,000.00
tloor slab and brick veneer.

P|ease provide a breakdown of work to be performed (Schedu|e of Values or Contlnuation Sheet -
SEE EXH|B|T TWO) as soon as possible broken down by areaiwlng.

 

AlA oocuMENT A401 - coNTnACTon-suecoNTnAcTon AGREEMENT - ELEvENTH EDmoN - APniL197e AlA
1978 - THE AMEnioAN leTlTuTE oF AncHlTECTS. 1735 NEW YOHK AVE..,. N.w., wAsH\NGToN, o.o. zones A401-1978 2

 

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A_R_TLLE_§
PnoenEss PAYMENTS

5.1 The Contractor shall pay the Subcontractor monthly progress payments in accordance with Paragraph 12.4 of this

Subcontract.

5.2 App||cations for monthly progress payments shall be in writing and in accordance with Paragraph 11.8, shall state the
estimated percentage of the Work ln this Suboonlract that has been satisfactorily completed and shall be submitted to the

Contractor on or before the Twenty~Flfth [25th) day of each month.
PLEASE FlEl-`EFt TO SAMPLE APPL|CATiON AND CERTIF|CATE FOFl PAYMENT - EXH|B|T THHEE

liters insert details on {l) payment procedures end date el monthly applications or other procedure li on other than a montlrry basis (2) the basis on which
payment will be made on account el materials and equipment suitably stored al tire site or other location agreed upon in nntlng. and lsi any provisions

consistent with the Contrnct Documants ior limiting or reducing the amount retained utter tire Worir reaction s certain stage_ol contcfellon_)

Ltpon receipt of Acoeptable lillalvers of Lien from both the Su‘ooontractor and anyiall Suppliers andlor Subcontractors; the
Generai Contractor agrees to pay the Subcontrsctor his approved monthly progress payment less Fl\lE PEFICENT ts%)
within live (5] days etter the Genera| Contractor receives payment from the Owner. `i'his supersedes any other provision

in the Contract.

5.3 When the Subcontractor's Work or a designated penton thereof is Substenllaliy complete and in accordance with the
Contracl Documents` the Contractor sha||, upon application by the Subcontraotor. make prompt application for payment
of such Work. Withln thirty days following issuance by the Architect of the Certiflcate for Payment covering such

substantially completed iiiiorkl the Contraotor shai|, to the full extent provided in the Contract Uocuments, make payment
to the Subcontractor of the entire unpaid balance of the Contract Surn or either portion of the Contract Sum attributable
to the substantially completed Wori<, less any portion of the funds for the Subcontractor's Work withheld in accordance

with the Certlficate to cover costs of items to be completed or corrected by the Subcontractor.

{Delsto the above Paregraph il the Conlraot Documentc do nol provide for. and the Subconiraclor agrees to forego, release of retainage for the

Srn‘rconlreclcr's Werlr prior to completion al the ant/re Project.)

5.4 Prog_ress payments or final payment due and unpaid under this Subconiraot shall bear interest from the date payment is

due at the rate entered below orl in the absence thereof, at the legal rate prevailing at the place of the Project.
(Here insert any rate of interest agreed upon.,l

(Lisury laws end requirements under the Fedorsi Truth tn tending Acl, slrrrilar stare and local consumer credit laws and other regulations at the Ownsrs,
Conlrec_lor's end Suoccnlracror's principal places ot business the location ot the Prch:ci and elsewhere may alith the validity oi this provision Sper:iiic

legal advice should he obtained with respect to deterrent modlticaiion, er other remrlrenrenrs such as written disclosures or uaivers,l

AFITICLE 6
FlNAL PAYMENT

6.1 Flnai payment. constituting the entire unpaid balance of the Contract Sum. shall be due when the Work described in this
Subcontract ls fully completed and performed in accordance with the Contracl Documents end ts satisfactory to the

Architect. and shall be payable as followerl in accordance with Artio|e 5 and with Paragraph 12.4 of this Subcontraet'.

(l-lere insert the relevant conditions under whloh, ortlme tn union liner payment witt become payable.,i

This Subcontractcr will be due the final payment in his Contract when the Owner has issued a Certlf|cate of Substantiai

Comp|etion and the Owner has released the final peyment. This supersedes any other provisions in this Contract.

6.2 Before issuance of the final payment, the Subcontrector, if required, shall submit evidence satisfactory to the Contractor
that ali payrolls. bills for materials and equipmentl and ali known indebtedness connected with the Subcontractor's Work

have been satisfied
AarrcLE_;

PERFOFtMANCE BOND AND LABOt-'t AND MATER|AL PAYMENT BOND
(Here lnsert any requirement for the furnishing of bonds by the Subconiractar.)

None

 

AiA ooouMENT A4o1 - coNTeAcTon-suBCONTnAoTon AanEMENT - ELEvENTH ED\T\oN ~ APniL 1975 ArA '
1978 - THE AMEnrcAN \NsTiTuTE oF AncHlTECTs, 1735 NEW Yoni< AVE.,., N.W.. WAsHlNeToN, o.o. 20006 A401-1978 3

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8.1

9.1

9.2

10.1

10.2

10.3

AnTrcLa§
TEMPonAnv FAcrl_rTlEs AND sEnvlcEs

Uniess otherwise provided in this Subcontract. the Gontractor shai| furnish and make available at no cost to the
Subcontractor the following temporary facilities and services:

The Gonerai Contractor shall provide temporary electrical service at a central location No other services will be provided
by the Generai Contractor. This Subcontractor is responsible ior clean up, houl-o'ri. andior removal from the site any
trash. debr|s. or waste resulting from the performance ot this subcontract on a daily basis Should the Genera| Contractor
be required to perform this service, this Subcontractcr will be appropriately back charged an appropriate amount to cover
the cost of this service.

AnncLEg
rNsunANcE

Prior to starting work, the Subcontractor shall obtain the required insurance from s responsible lnsurer, and shall furnish
satisfactory evidence to the Cont'ractor that the Subcontractor has complied with the requirements of this Articie 9.
Simliariy, the Contractor shall furnish to the Subcontractor satisfactory evidence of insurance required of the Contractor
by the Contract Documents.

The Subcontracior wlii furnish the General Oentractor with a Certiiicate of Gomprehensive, C-ienera| Liab||ity. and
Worker's Compensation insurance prior to commencing work on this pro|ect. TEXAS DESCON, L.P. strait be included as
an additional named insured and provide Waiver of Subrogation. Genersl Liabiiity shall be "A-'I" rated or better and
have a coverage of no less than two million dollars {$2,000,000.00). No payments w|ll be approved for this
Subcontractor without these documents having been issued to the General Gontractor. The Gertificats oi insurance shall
be in the name of the Subcontractor as the lnsured, ss per the attached form. The insurance provided by the insurance
will be primary to any insurance of TEXAS DESCON, L.i-‘.

*SEE EXHIB|TS FOUFi AND FlVE AS PART OF THE CONTRACT DOCUMENTS.

ART|CLEB
WORK|NG COND|T|ONS

(Here insert any applicable arrangements concerning Worfring cond/rions and labor matters for the Pro/acr.)

The Subcontractor is responsible for safety inspections as defined in OS'riA and other state and iederai. and TEXAS
DESCON, L.P.'s safety policy ior ali workmen and equipment used to comply with this contractl |tTEXAS DESCON, L‘P.
is fined due to the failure of this Subcontractor to perform his portion of work in compliance with the O.S.H.r\.
Fiegu|eiions. TEXAS DESCON, L.P. shall be reimbursed the dollar amount oi the fine by deducting same from the next
draw due this Subcontractor.

The Subcontractor is responsible ior performing his work in compliance With approved and accepted methods and
practices as outlined by the Citv of Pharr, Hidslgo County, TEXAS and eli applicable building codes and regulations
attesting or governing the construction of this protect

TEXAS DESCON, L.P. will not be responsible i'or VCI Bu|lders' means, methodsl techniquesl sequences oi procedures
of construction, or the safety precautions and programs incident thereto, and TEXAS DESCON, L.P. will not be
responsible ior \.iCi Builders’ failure to perform the work in accordance with the contract documents VC| Bullders will
be solely reeponsibie for the safety ot its employees and subcontractors Nothing here will create any duty on the part ct
TEXAS DESCON, L.F'. for satety.

This Subcontractcr must be approved and licensed to perform the work as outlined in the Contract Documents for this
project at this specific project location

 

AlA DOCUMENT A401 - CONTFiACTOR-SUBCONTRACTOR AGREEMENT - ELEVENTH EDITION - APFi|L 1978 A|A

1978 -

THE AMER|CAN |NST|TUTE OF AHCH|TECTS. 1735 NEW YOFlK AVE.... N.W.l WASH|NGTON, D.C. 20006 A401-1978 4

 

 

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GENERAL CONDIT|ONS

 

ART| E 11
SUBCONTF\ACTOH

11.1 RlGHTS AND HESPONS|B|L\T|ES

11.1.1 The Subcontractor shall be bound to the Contractor by the
terms of this Agreement and, to thc extent that provisions of the
Ccntract Documents between the Owner and Ccntractor apply to
the Work of the Subcontrsclor as defined in this Agrsement. the
Subcontractor shall assume toward the Coniractor all the
obligations and responsibilities which the Ccntractor. by those
Documents. assumes toward the Owner and the Architeot, and
shall have the benefit of all rights, remedies end redress against
the Contraotor which the Contractor, by those Documents. has
against the Owner. insofar as applicable to this Subcontract,
provided that where any provision of the Con|ract Documents
between the Owner and Ccntractor is inconsistent with any
provision cf this Agreemant, this Agraernent shall govern.

11.1.2 The Subcontracth shall not assign this subcontract without
the written consent of the Contraotor. ncr subcontract the whole of
this Subcontract without the written consent of the Contrsclor, nor
further subcontract portions of this Subcontract without written
notification to the Contractor when such notification is requested by
the Ccntraotor. The Subcontracicr shall not assign any amounts
due cr to become due under this Subcontract without written notice
to the Contractcr.

11.2 EXECUT|ON AND PROGRESS OF THE WOFlK

11.2.1 The Subcontractor agrees that the Contractor's equipment
will be available to the Subcontractor only at the Conlractcr's
discretion and on mutually satisfactory terms.

11.2.2 The Subcontracth shall cooperate with the Contractor in
scheduling and performing his Work to avoid conflict or interference
with the work of others,

11 .2.3 The Subcontracfor shall promptly submit shop drawings and
samples required in order to perionn his Work eitlcient.iy,
expeditiously and in a manner that will not cause delay in the
progress of the Worl< of the Gontreotor or other subcontractors

11.2.4 The Subcontractor shall fumlsh periodic progress reports on
the Work aa mutually agreed. including information on the status cf
motorists and equipment under this Subcontract which may be in
the course of preparation cr manufacturel

11.2.5 The Srrbcontraotor agrees that ali Work shall be done
subject to the final approval of the Architect. The Archliect's
decisions in matters relating to artistic effect shall be final if
consistent with the intent of the Contraot Documents.

11.2.6 The Subcontractor shall pay for ali matsr'isls, equipment
end labor used inl or |rr connection with, the performance cl this
Subcontract through the period covered by previous payments
received from the Ccniractor. and shall furnish satisfactory
evidence. when requested by the Coniractor. to verify compliance
with the above requirements

11.3 LAWS, PEFiMlTS, FEES AND NOT|CES

11.3.1 The Subcontractor shall give all notices and comply with all
iaws, ordinances, rules. regulations and orders of any public
authority bearing on the performance cf the Work under this
Subcontract. The Subcontractor shall secure and pay for all permits
and governmental fees, licenses end inspections necessary for the
proper execution and compietion of the Subcontractor's Work, the
furnishing cf which is required of the Contractor by the C_oniract
Documents.

 

11 .3.2 The Subcontractor shall comply with Federsl, State and local
tax iaws, social security ects. unemployment compensation acts and
workers' or wcr|<nien's compensation acts insofar as applicable to
the performance of this Subcontract.

11.4 WORK OF OTHEFiS

11.4.1 in carrying out his Work, the Subcontractor shall lake
necessary precautions to protect properly the finished work of other
trades from damage caused by his operations

11.4.2 The Subcontractor shall cooperate with the Ccntractor and
other subcontractors whose work might interfere with the
Bubcontracior's Work, end shaft participate tn the preparation ot
coordinated drawings in areas cf congestion as required by the
Contract Documents, specifically noting and advising the Confractor
of any such interference

11.5 SAFETY PRECAUT|ONS AND PFlOCEDUFiES

11.5.1 The Subcontractor shall take all reasonable safety
precautions with respect to his lr'llcrrkl shall comply with all safety

measures initiated by tire Contractor and with all applicable iaws. _ -

ordinancesl rulesl regulations and orders of any public authority for
the safety of persons or property in accordance lwiih `the
requirements of the Contract Documents. The Subcontracfor shall
report within three days tc the Ccntractor any |n|ury to any cl\thel
Subcontractor's employees at the site.

11.6 CLEAN|NG UP

11.6.1 The Subcontractor shall at all times keep the premises free
from accumulation cf waste materials or rubbish arising out of the
operations cl this Subcontract, Lln|ess otherwise provided. the
Subcontractor shall not be held responsible for unclean conditions
caused by other contractors or subcontractorsl

11.6.2 Piease direct your attention to Art|c|e 8 of this subcontract
which refers to clean up and removal of debris from icb site. Be
advised that we will not notify subcontractors in writing before
proceeding with our own cleaning crews and you will be back
charged for these services,

11.7 WARRANTY

11.?.1 The Subcontractor warrants to the Owner, the Architeot and
the Gcniractcr that ali materials and equipment furnished shall be
new unless otherwise specified. and that ali Work under this
Subcontrect shall be of good qustliy, free from faults and defects and
in conformance with the Coniract Documents. A|i Work not
centennan to these requirementsl including substitutions not
properly approved and authorized, may be considered defective
The warranty provided in this Paragraph 11.? shall be in addition to
and not in limitation of any other warranty or remedy required l:ry law
or by the Contract Docum ents. .

11.8 APPLICATIONS FOFt PAYMENT

11.8.1 The Subcontractor shall submit to the Contractor applications
for payment at such times as stipulated in Artiole 5 to enable the
Contractor to apply for payment.

11.8.2 ii payments are made on the valuation of Work done. the
Subcontractor shal|, before thc first application, submit to the
Gontractor a scheduie cf values ot thc various parts of the Work
aggregating the total sum oi this Subcontract. made out in such
detail as the Subcontractor and Contractor may agree upon or as
required by the Owner. and supported by such evidence as to its
correctness as the Contrsctor may direct Tit|s schadu|e. when
approved by the Gontraclor. shall be used only as a basis for
Appltcaticns for Paym ent. unless it is found to he tn error. in applying

 

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for payment, the Subcontracth shall submit a statement based
upon this schedule

11 .8.3 if payments are made on account of materials or equipment
not incorporated in the Work but delivered and suitably stored et
the site or at some other location agreed upon in writing, such
payments shall be In accordance with the Ten'ns and Cond|t|ons of
the Contract Documents.

11.9 CHANGES |N THE WORK

11 .9.1 The Subcontracth may be ordered in writing by the
Contraotor. without invalidating this Subcontract, to make changes
in the Work within the general scope of this Subcontract consisting
of additions, deletions or other revisions, the Contract Sum and the
Contract Time being ad]usted accordingly The Subcontractorl prior
to the commencement of such changed or revised Work, shall
submit promptly to the Contractor written copies of any claim for
adjustment to the Contract Sum and Ccntract Time for such revised
Work in a manner consistent with the Contract Documents.

11.10 CLAlMS OF THE SUBCONTRACTOR

11.10.1 The Subcontractor shall make all claims promptly to the
Contractor for additional cost, extensions of time, and damages for
delays or other causes in accordance with the Ccotract
Documents. Any such claim which will affect or become part of a
claim which the Contractor is required to make under the Contract
Documents within a specified time period or In a specified manner
shall be made in sufficient time to permit the Contractor to satisfy
the requirements of the Contract Documents. Such claims shall be
received by the Contractor not less titan two working days
preceding the time by which the Contractofs claim must be made.
Failure of the Subcontraolor to make such a timely claim shell bind
the Subcontractor to the same consequences as those to which the
Contractor is bound.

11.11 lNDEN|N|FlCAT|ON - SEE E)(HlBlT S|X
11.12 SUBCONTRACTOF|'S FtENlEDlES

11.12.1 if the Coniractor does not pay the Subcontractor through
no fault of the Subcontractorl within seven days from the time
payment should be made as provided in Peragraph 12,4. the
Subcontractor may. without prejudice to any other remedy he may
have, upon seven additional days' written notice to the Contractor.
stop his Work until payment of the amount owing has been
received The Cchtraci Sum sltalt. by appropriate adiustment. be
increased by the amount cf the Subcontractor's reasonable costs of
shutdown, delay end start-up.

11.13 Any business use or acceptance of final payment by the
Subcontractor waives ali claims that were or could have been
raised by the Subcontractor concerning the Project and payment
for work performed on the Pro|ect.

ABT|CL§ ]2
CONTRACTOR

12,1 FllGHTS AND FlESPONSIB|L|TiES

12.1.1 The Contractcr shall be bound tc the Subcontractcr by the
terms of this Agreement, and to the extent that provisions ci the
Contract Documents between the Owner and ttrc Ccntractor apply
to the Work of tire Subcontractor as defined in this Agreen‘tent. the
Contractor shall assume toward the Subcontractor eli the
obligations and responsibilities that the Owner, by those
Documents. assumes toward lite Contractor. and shell have the
benefit of all rights. remedies and redress against the
Subcontractor which the Owner, by those Documents. has against
the Contractor. Where any provision of the Contract Documents
between the Owner and the Contractor is inconsistent with any
provisions of this Agreement, this Agreement shell govern.

 

12.2 SERV|CES PROV|DED BY THE CONTHACTOR

12.2.1 The Contractor shall cooperate with the Subcontractor in
scheduling and performing his Work to avoid conflicts or interference
in the Subcontractor's Workl and shall expedite written responses to
submittals made by the Subcontractor in accordance with
Paragraphs 11.2, 11.9 and 11.10. As soon as practicable after
execution of this Agreement, the Contractor shall provide the
Bubcontractor a copy of the estimated progress schedule of the
Contractor's entire Work which the Contractor has prepared and
submitted for the Owner's and the Arch|tect's informationl together
with such additional scheduling details as will enable the
Subcontractor to plan and perform his Work proper|y. The
Subcontracth shall be notified promptly of any subsequent changes
in the progress schedule and the additional scheduling detaiis.

12.2.2 The Contractor shall provide suitable areas for storage of the
Subcontractor‘s materials and equipment during the course of the
Work. Any additional costs to the Subcontractor resulting from the
relocation of such facilities at the direction of the Contractor shall be
reimbursed by the Contractor.

'12.3 COMMUNICAT|ONS

12.3.1 The Contractor shall promptly notify the Subcontracth of all
modifications to the Contract between the Owner and the Contractor
which affect this Subcontract and which were issued or entered into
subsequent to the execution of this Subcontract.

12.3.2 The Contractor shall hot give instructions or orders directly
to employees or workmen of the Subcontractor except to persons
designated as authorized representatives of lite Subcontractor.

12.4 PAY|V| ENTS TO THE SUECONTHACTOH

12.4.1 Uniess otherwise provided in the Contract Documents. the
Gontrector shall pay the Subcontracior each progress payment and
the final payment under this Subcontract within three working days
after he receives payment from the Owner, except as provided in
Subparagraplr 12.4.3. The amount of each progress payment to the
Subcontractcr shall be the amount to which the Subcontractor is
entitled, reflecting the percentage of completion allowed to the
Contractor for the Work of this Subcontractor applied to the Contract
Sum of this Subcontract, and the percentage actually retained, ii
any, from payments to the Contractor on account of such
Subcontractor's Work, pius, to the extent permitted by the Contract
Documents. the amount allowed for materials and equipment
suitably stored by the Subcontractorl less the aggregate of previous
payments to the Subcontractor.

TEXAS DESCON, L.P. retains the right, at its own discretion, to
make ]oint payments to this subcontractor and its
subcontractors and/or suppliers.

12.4.2 The Contractor shall permit the Subcontractor to request
directly from the Architect information regarding the percentages of
completion or the amount codified on account of Work done by the
Subcontractor.

12.4.3 lf the Archltect does not issue a Cerilftcate for Payment or
the Contractor does not receive payment for any cause which is not
the fault of the Subcontractor, the Contractor shall pay the
Subcontractor, on damand, a progress payment computed as
provided in Subparagreph 12.4.1 or the final payment as provided |n
Artlcie 6.

12.4.4 No certificate given by Owner, Architect or their agents. nor
any payment to the Subcontractor made under this AGHEEMENT
shall be deemed conclusive evidence of the full or satisfactory
performance of the work performed by the Subcontracth on the
Proiecl. No payment shall be considered an acceptance of deficient
or substandard work or improper or defective materials

 

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